Case 3:18-cv-01445-SMY-SCW Document 1 Filed 07/26/18 Page 1 of 5 Page ID #1
                                                                  FILED
                 IN THE UNITED STATES DISTRICT COURT
                                                                   JUL 2 6 2018
                FOR THE SOUTHERN DISTRICT OF ILLINOIS       CLERK, U.S. DISTRICT COURT
                                                           SOUTHERN DISTRICT OF ILLINOIS
                                                               EAST ST. LOUIS OFFICE

PHILLIP S. GRIGALANZ,
                 Plaintiff

         vs.                                 Case No.   19-tv-;W~-srtY-SetJ
STATE OF INDIANA,
KRIST! L. GRIGALANZ, AND
J) "HN C. WIMMERSBURG,
                 Defendants

                            COMPLAINT
     COMES NOW Plaintiff, pro se, and alleges:
     On or about July, 2015 Defendant Kristi L. Grigalanz filed a
Petition for Dissolution of Marriage before Porter Superior Court
#1 in Valparaiso, IN.

     On or about a period beginning with the filing of the Petition
for Dissolution of Marriage and ending on or about December 2, 201~
Defendant  Kristi L. Grigalanz committed a series of fiduciary
and identity theft crimes against Plaintiff. Defendant Grigalanz
also harrassed Plaintiff by telephone by way of frequent calling
(calls did not pertain to minor child) during this period of time.

     On or about November 5, 2018 a status hearing was conducted
and held before Porter Superior Court #1. PLaintiff established
step-parent's rights for minor child known as "CLE", right to adopt
same and verbal parenting time orders were placed on record.
Defendant Grigalanz did not comply with these orders.

     ) n or aboutDecember 2, 2018, Plaintiff was arrested by the
Jerseyville Police Department and held in custody by the Jersey
County Sheriff's Police (in the custody of Defendant John C.
Wimmersburg).

     While Plaintiff was in custody, Porter Superior Court #1
refused to recuse itself (it had overseen Plaintiff's parents'
divorce over an 11-year term), allowed a firm which represented
Plaintiff as Guardian ad Litem to represent Defendant Grigalanz
and refused to allow Plaintiff access to hearings (though telephone
and video court access were available to the Court).

     In February, 2017 Defendant Grigalanz engaged in a series of
telephone calls which were answered by Jersey County Sheriff's
Deputy Benjamin Highfill (Badge #108) in which she attempted to gain
obstruction of service of process regarding an appeal of the divorce
case. After being informed on multiple occasions of the illegality
of the request, Defendant Grigalanz engaged in a telephone conversation
with Defendant Wimmersburg. Subsequent tot his conversation, Defendant
Wimmersburg instructed correctional deputies to redirect all legal
mail to himself. Defendant then effectively removed access to the
Indiana Appellate Court and Indiana Supreme Court through delaying
filings between six weeks and five months, despite an order of the
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Jersey County Circuit Court effectively ordering him to cease and
desist by ordering all mail directed to P.D. Schultz. This order
was not complied.

     Defendant, while able to provide alibi in the criminal case,
instead used criminal charges against Plaintiff to her advantage
in divorce and custody proceedings.

     Defendant Grigalanz also obstructed service of process by
returning all process to her addressed, necessitating service by
Sheriff's Police.

     The Indiana Supreme Court and Indiana Court of Appeals, in
full knowledge wherof, issued adverse rulings against Plaintiff
without due process and using timeliness as a basis for adverse
action.

     Statutes granting the Court authority and jurisdiction in this
case are: 42 USC 1983, 42 USC 1985 (2) and 42 USC 1985 (3).

        Plaintiff requests any or all of the following relief in this
case:

        1.     Injunction restoring Plaintiff's rights to "CLE" to
               original state pending further hearing and/or
               requiring due process to occur.

        2.     Relief for deprivation of due process rights:     $10 million

        3.     Relief for Obstruction of Mustice:   $5 million

        4.     Loss of companionship and society with "CLE": $10 million

        5.     Punitive and exemplary damages.

        6.     Criminal sanctions where appropriate.


                                      PARTIES
Plaintiff           Phillip Grigalanz
                    Y2o 282
                    12078 IL SR 185
                    Hillsboro,   IL     62052


Min o r Child       Cierra L . Evans ("CLE " )
                    3822 Wor th ington St.
                    Portage, IN     46368

Defen dant s        State of Indiana
                    Indiana Supreme Court
                    216 State House
                    Indianapolis, IN   46204

                    Kristi Grigalanz
                    N/K/A Kristi L. Evans
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                3822 Worthingto n St.
                Portage , IN  46368

                John C. Wi mm ersburg
                114 N. Was h ington St.
                Jerseyville, IL     62052

Respectfully submitted this 20th day of July,       2018.
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         Hillsboro, IL       62049                                                                   Of The IL Dept
                                                                                                     Of Corrections




                                                    Clerk
                                                    United States District Court
                                                    750 E Missouri Ave.
                                                    E. St. Louis, IL    62201




                                                                                                                                           Legal Mail

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